Case 6:20-cv-06018-RTD-BAB Document 27                       Filed 11/06/20 Page 1 of 1 PageID #: 122



                            IN THE UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF ARKANSAS
                                     HOT SPRINGS DIVISION

 CHARLES SAMUEL JOHNSON, JR.                                                                 PLAINTIFF

 v.                                       Civil No. 6:20-cv-06018

 MAJOR ANDREW RUH; DEPUTY WARDEN WHITE;
 and SERGEANT HARRISON                                                                    DEFENDANTS

                                                  ORDER


         Now before the Court is the Report and Recommendation filed September 30, 2020, by the

 Honorable Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas. (ECF

 No. 24.) Plaintiff proceeds in this section 42 U.S.C. §1983 action pro se and in forma pauperis. After

 considering the Defendants’ Renewed Motion to Dismiss (ECF No. 21), Judge Bryant recommends that

 the motion be granted with respect to Plaintiff’s official capacity claims and that the motion should be

 denied in all other respects.

         No party has filed objections to the Report and Recommendation, and the time to object has passed.

 See 28 U.S.C. § 636(b)(1). Upon review, the Court adopts the Report and Recommendation in toto.

         Accordingly, the Court makes its ORDER as follows:

         1.       The Renewed Motion to Dismiss (ECF No. 21) is GRANTED IN PART and Plaintiff’s

 official capacity claims are hereby dismissed;

         2.       the motion is DENIED IN ALL OTHER RESPECTS; and

         3.       Plaintiff’s individual capacity claims remain before the Court.

          IT IS SO ORDERED this 5th day of November 2020.




                                                   /s/   Robert T. Dawson
                                                   ROBERT T. DAWSON
                                                   SENIOR U.S. DISTRICT JUDGE
